 Case: 1:19-cv-04547 Document #: 157 Filed: 02/22/22 Page 1 of 1 PageID #:948

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

City Of Chicago
                            Plaintiff,
v.                                                Case No.: 1:19−cv−04547
                                                  Honorable Virginia M. Kendall
Jussie Smollett
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 22, 2022:


         MINUTE entry before the Honorable Sunil R. Harjani: Status hearing held by
telephone. Parties reported on the status of the case and discovery. By 3/23/2022, the
parties shall file an updated joint status report on discovery which shall include deadlines
for written discovery and issuance of deposition notices. Status hearing set for 3/30/2022
at 9:15 a.m. by telephone. Members of the public and media will be able to call in to listen
to this hearing but will be placed on mute. The call−in number is (888) 684−8852 and the
access code is 7354516. Persons granted remote access to proceedings are reminded of the
general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Mailed notice(lxs, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
